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                        U.S. DISTRICT COURT FOR
                       THE DISTRICT OF COLUMBIA

                                  + + + + +

      ___________________________
                                 :
      IN THE MATTER OF:          :
                                 :
      ROBERT MURPHY,             :
                                 :
                  Plaintiff      :
                                 :
           v.                    : Civil Action No.
                                 : 1:18-cv-1478 (JDB)
      DISTRICT OF COLUMBIA,      :
                                 :
                  Defendant      :
                                 :
      ___________________________:

                     Wednesday,
                     February 3, 2021

                     Via Videoconference




      DEPOSITION OF:



                               ROBERT MURPHY



      called for examination by Counsel for the

      Defendant, pursuant to Notice of Subpoena, when

      were present on behalf of the respective parties:



                          Neal R. Gross and Co., Inc.
(202) 234-4433                 Washington DC               www.nealrgross.com
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                                                                              20

1                     A   Yes.

2                     Q   How much sick leave do you think you

3          had taken as of -- in 2015 as of April 2?

4                     A   I believe it was one week.           Only what

5          was needed.

6                     Q   So you think you only took about a

7          week?

8                     A   Yes.

9                     Q   And how much leave did you request in

10         your -- that request on April 2, 2015?

11                    A   In 2015, in April, my doctor told me

12         at that time that because I had had a heart

13         episode at that time, I had a heart attack.

14                        And my doctor said that I was done.

15         And he put in a request for, what's it called?

16         To put me on -- to put me on FMLA.

17                    Q   Okay.     When you said that your doctor

18         said quote, I was done, what did he mean by that?

19                    A   Because of my heart condition and the

20         stress level, he said that -- that because of my

21         heart condition, he didn't think that I could --

22         that the job, I couldn't do the job anymore.



                                 Neal R. Gross and Co., Inc.
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